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                              UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 In re:   RICCI TRANSPORT & RECOVERY INC.,            :       Bky No. 22—10969—elf

                        Debtor



                                              ORDER


          And now, this 28th day of February 2023, it is HEREBY ORDERED that the Clerk of Court

 shall transfer the above-captioned matter to the docket ofthe Honorable Ashely M. Chan.




                                                      Eric L. Frank
                                                      U.S. Bankruptchudge
